        Case 18-31185               Doc 6          Filed 11/08/18 Entered 11/08/18 08:41:18                                 Desc Ch 11 First
                                                           Mtg I/J Page 1 of 2
 Information to identify the case:
 Debtor 1              Harlow N Higinbotham                                                      Social Security number or ITIN           xxx−xx−0729
                       First Name   Middle Name    Last Name                                     EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)
                                                                                                 EIN    _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court               Northern District of Illinois
                                                                                                 Date case filed for chapter 11 11/5/18
 Case number:          18−31185

Official Form 309E (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                                    12/15

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                               About Debtor 1:                                              About Debtor 2:
 1. Debtor's full name                         Harlow N Higinbotham

 2. All other names used in the
    last 8 years

                                               RD No. 2
 3. Address                                    2002 East Cass Street
                                               Joliet, IL 60432

                                               Gregory K Stern
                                               Gregory K. Stern, P.C.                                     Contact phone 312 427−1558
 4. Debtor's attorney                          53 West Jackson Blvd.                                      Email: greg@gregstern.com
      Name and address
                                               Suite 1442
                                               Chicago, IL 60604

 5. Bankruptcy clerk's office                                                                             Hours open:
      Documents in this case may be filed                                                                 8:30 a.m. until 4:30 p.m. except Saturdays,
                                               Eastern Division                                           Sundays and legal holidays.
      at this address.                         219 S Dearborn
      You may inspect all records filed in     7th Floor
      this case at this office or online at                                                               Contact phone 1−866−222−8029
      www.pacer.gov.
                                               Chicago, IL 60604
                                                                                                          Date: 11/8/18

                                                                                                           For more information, see page 2 >




Official Form 309E (For Individuals or Joint Debtors)                    Notice of Chapter 11 Bankruptcy Case                                           page 1
       Case 18-31185                 Doc 6        Filed 11/08/18 Entered 11/08/18 08:41:18                                         Desc Ch 11 First
                                                          Mtg I/J Page 2 of 2
Debtor Harlow N Higinbotham                                                                                                            Case number 18−31185

 6. Meeting of creditors                     December 11, 2018 at 01:30 PM
     Debtors must attend the meeting to                                                                        Location:
     be questioned under oath. In a joint    The meeting may be continued or adjourned to a later              219 South Dearborn, Office of the U.S.
     case, both spouses must attend.         date. If so, the date will be on the court docket.
                                                                                                               Trustee, 8th Floor, Room 802,
     Creditors may attend, but are not                                                                         Chicago, IL 60604
     required to do so.                      Debtors must bring a picture ID and proof of their
                                             Social Security Number.

 7. Deadlines                        File by the deadline to object to discharge or to challenge                           First date set for hearing on
     The bankruptcy clerk's office   whether certain debts are dischargeable:                                              confirmation of plan. The court will
     must receive these                                                                                                    send you a notice of that date later.
     documents and any required
     filing fee by the following     You must file a complaint:                                                            Filing deadline for
     deadlines.                                                                                                            dischargeability complaints:
                                             • ifofyou assert that the debtor is not entitled to receive a discharge
                                                    any debts under 11 U.S.C. § 1141(d)(3) or                              2/11/19
                                             • U.S.C.want
                                               if  you      to have a debt excepted from discharge under 11
                                                        § 523(a)(2), (4), or (6).


                                     Deadline for filing proof of claim:                                                   Not yet set. If a deadline is set, the
                                                                                                                           court will send you another notice.
                                     A proof of claim is a signed statement describing a creditor's claim. A proof
                                     of claim form may be obtained at www.uscourts.gov or any bankruptcy
                                     clerk's office.

                                     Your claim will be allowed in the amount scheduled unless:

                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.
                                     If your claim is not scheduled or if your claim is designated as disputed,
                                     contingent, or unliquidated, you must file a proof of claim or you might not be
                                     paid on your claim and you might be unable to vote on a plan. You may file a
                                     proof of claim even if your claim is scheduled.

                                     You may review the schedules at the bankruptcy clerk's office or online at
                                     www.pacer.gov.

                                     Secured creditors retain rights in their collateral regardless of whether they
                                     file a proof of claim. Filing a proof of claim submits a creditor to the
                                     jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                     For example, a secured creditor who files a proof of claim may surrender
                                     important nonmonetary rights, including the right to a jury trial.


                                     Deadline to object to exemptions:                                                     Filing Deadline:
                                     The law permits debtors to keep certain property as exempt. If you believe            30 days after the conclusion of the
                                     that the law does not authorize an exemption claimed, you may file an                 meeting of creditors
                                     objection.

                                             If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 8. Creditors
    address
              with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 9. Filing a Chapter 11
    bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                             is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                             business.

                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                             See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                             all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                             from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
 10. Discharge of debts                      should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                             and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                             entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                             the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                             send you another notice telling you of that date.

                                             The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                             distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 11. Exempt property                         as exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                             believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                             bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.

Official Form 309E (For Individuals or Joint Debtors)                      Notice of Chapter 11 Bankruptcy Case                                                page 2
